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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

 ROBIN MATTHIAS, individually and on
 behalf of others similarly situated,

         Plaintiff,                                       Case No. 19-cv-182-slc

    v.

 TATE & KIRLIN ASSOCIATES, INC. and
 LVNV FUNDING, LLC,

         Defendants.


                             JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants Tate & Kirlin Associates, Inc. and LVNV Funding, LLC against plaintiff

Robin Matthias vacating the April 13, 2020 order granting class certification and

dismissing this case without prejudice for lack of subject matter jurisdiction.




         s/V. Olmo, Deputy Clerk                             1/12/2021
         Peter Oppeneer, Clerk of Court                            Date
